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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                    Case No.: 24-cv-24346

  GARRETT ELECTRONICS, INC.,

         Plaintiff,

    v.

  THE INDIVIDUALS, CORPORATIONS, LIMITED
  LIABILITY COMPANIES, PARTNERSHIPS, AND
  UNINCORPORATED ASSOCIATIONS IDENTIFIED
  ON SCHEDULE A,

       Defendants.
 _____________________________________________/

                      NOTICE OF FILING EXHIBIT #2 TO THE COMPLAINT

              Plaintiff GARRETT ELECTRONICS, INC., by and through its undersigned

   counsel, hereby notifies the Court that Exhibit #2 is being filed in connection with the

   Complaint that was filed on November 5, 2024 [DE No. 1].


   Dated:     November 6, 2024                     Respectfully submitted,


                                                   By: /s/ Leigh Salomon
                                                   Leigh Salomon (FL Bar No. 1054106)
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                                                   Attorney for Plaintiff GARRETT ELECTRONICS,
                                                   INC.




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